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                          FOUNDATION
                     11

                     12                                  UNITED STATES DISTRICT COURT
                     13                             NORTHERN DISTRICT OF CALIFORNIA
                     14

                     15   X CORP., a Nevada corporation,                     No. 3:23-cv-03836-LB
                     16                     Plaintiff,                       DEFENDANT STICHTING
                                                                             EUROPEAN CLIMATE
                     17          v.                                          FOUNDATION’S FED. R. CIV. P. 7.1
                                                                             STATEMENT AND CIVIL LOCAL
                     18   CENTER FOR COUNTERING DIGITAL                      RULE 3-15 CERTIFICATION
                          HATE, INC., a Washington, D.C. non-profit
                     19   corporation; CENTER FOR COUNTERING
                          DIGITAL HATE LTD., a British non-profit
                     20   organization; STICHTING EUROPEAN
                          CLIMATE FOUNDATION; and DOES 1
                     21   through 50, inclusive,
                     22                     Defendants.
                     23

                     24          Pursuant to Federal Rule of Civil Procedure 7.1, counsel for Defendant Stichting

                     25   European Climate Foundation (“ECF”) hereby states as follows: (1) ECF does not have a parent

                     26   corporation; and (2) ECF does not have stock, and therefore, no publicly held corporation owns

                     27   10% or more of ECF stock.

                     28          Pursuant to Northern District of California Civil Local Rule 3-15, the undersigned
MANATT, PHELPS &
 PHILLIPS, LLP                                                                                      FRCP 7.1 CORPORATE
  ATTORNEYS AT LAW
   SAN FRANCISCO                                                                                    DISCLOSURE
                                                                                                    3:23-CV-03836-LB
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                      1   certifies that as of this date, there is no conflict or interest (other than the named parties) to report.

                      2

                      3   Dated: November 16, 2023                              MANATT, PHELPS & PHILLIPS, LLP
                      4

                      5                                                         By:
                                                                                      Nathaniel L. Bach
                      6
                                                                                      Attorneys for Defendant
                      7                                                               STICHTING EUROPEAN CLIMATE
                                                                                      FOUNDATION
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MANATT, PHELPS &
 PHILLIPS, LLP
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                                                                            -2-                           FRCP 7.1 CORPORATE
   SAN FRANCISCO                                                                                          DISCLOSURE
                                                                                                          3:23-CV-03836-LB
